Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 1 of 12 PageID #: 11




                                                          Exhibit - A
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 2 of 12 PageID #: 12
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 3 of 12 PageID #: 13
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 4 of 12 PageID #: 14
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 5 of 12 PageID #: 15
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 6 of 12 PageID #: 16
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 7 of 12 PageID #: 17
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 8 of 12 PageID #: 18
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 9 of 12 PageID #: 19
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 10 of 12 PageID #: 20
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 11 of 12 PageID #: 21
Case 1:22-cv-00212-DDD-JPM Document 1-1 Filed 01/24/22 Page 12 of 12 PageID #: 22




                                 DOCKET NO.            8{]
                                                                            &'; -
    OLD INDIAN TRJCKS, LLC                        §    35 T H JUDICIAL DISTRJ
                                                  §    COURT
                                                  §
           Plaintiff,                             §
                                                  §    PARJSH OF GRANT
    V.                                            §
                                                  §    ST ATE OF LOUISIANA
    BRJAN SPARKS, et al                           §
                                                  §
           Defendants.                            §    JURY TRIAL DEMANDED
    ******************************************************************************
          REQUEST FOR NOTICE OF TRIAL DATES, HEARINGS AND ORDERS

    To the Clerk of Court of Grant Parish:

           Please take note that Ryan Goudelocke, of the law firm CARAWAY LEBLANC,

    mailing address: 3936 Bienville Street, New Orleans, LA 70119, counsel for Old Indian Tricks,

    L.L.C., request written notice of the trial in the above-captioned matter as well as hearings

    (whether on the merits or otherwise), orders, judgments, interlocutory decrees and any and all

    formal steps taken by the parties herein, the judge or any member of the court, as provided in the

    Louisiana Code of Civil Procedure, particularly articles 1572, 1913 and 1914.

                                                  Respectfully submitted:


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